          Case 2:16-cr-00036-TOR               ECF No. 198                filed 08/19/16               PageID.482 Page 1 of 2
O PS 8
(3/15)


                               UNITED STATES DISTRICT COURT                                                                FILED IN THE
                                                                                                                       U.S. DISTRICT COURT
                                                                                                                 EASTERN DISTRICT OF WASHINGTON

                                                                        for
                                                                                                                  Aug 19, 2016
                                               Eastern District of Washington
                                                                                                                      SEAN F. MCAVOY, CLERK




U.S.A. vs.                 Santiago-Morales, David                                      Docket No.             0980 2:16CR00036-003


                                  Petition for Action on Conditions of Pretrial Release

        COMES NOW Daniel M. Manning, PRETRIAL SERVICES OFFICER presenting an official report upon the
conduct of defendant David Santiago-Morales, who was placed under pretrial release supervision by the Honorable U.S.
Magistrate Judge Mary K. Dimke sitting in the court at Yakima, Washington, on the 27th day of May, 2016, under the
following conditions:

Condition #17: Defendant shall complete treatment indicated by an evaluation or recommended by the United States Pretrial
Services Office and shall comply with all rules of a treatment program. Defendant shall be responsible for the cost of testing,
evaluation and treatment, unless the Unites States Pretrial Services Office determines otherwise. If Defendant fails in any
way to comply or cooperate with the requirements and rules of a treatment program, Pretrial Services shall notify the Court
and the United States Marshall, who will be directed to immediately arrest the Defendant.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                      (If short insert here; if lengthy write on separate sheet and attach.)


Violation #1: The defendant attended an substance abuse intake appointment on July 26, 2016, at First Step Community
Counseling Services, and was recommended to begin Intensive Outpatient treatment services on August 1, 2016. The
defendant has not attended his scheduled treatment sessions since August 3, 2016. He is considered to be in non-compliance
with his treatment requirements.

     PRAYING THAT THE COURT WILL INCORPORATE THE ABOVE VIOLATION WITH VIOLATION(S)
                          PREVIOUSLY REPORTED TO THE COURT

                                                                                           I declare under the penalty of perjury
                                                                                           that the foregoing is true and correct.
                                                                                           Executed on:        August 19, 2016
                                                                               by          s/Daniel M. Manning
                                                                                           Daniel M. Manning
                                                                                           U.S. Pretrial Services Officer
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  Re: Santiago-Morales,, David
  August 19, 2016
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THE COURT ORDERS

[ ]      No Action
[ ]      The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ X]     The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
[ ]      Defendant to appear before the Judge assigned to the case.
[X ]     Defendant to appear before the Magistrate Judge.
[ ]      Other


                                                                      Signature of Judicial Officer

                                                                      8/19/2016
                                                                      Date
